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                            IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
               Plaintiff,                             )
                                                      )
       vs.                                            )      No. 4:23 MJ 8312 SRW
                                                      )
ANDREW C. HUBBARD,                                    )
                                                      )
               Defendant.                             )

     SUPPLEMENTAL MOTION FOR PRE-TRIAL DETENTION AND HEARING

       Comes now the United States of America, by and through its attorneys, Sayler A. Fleming,

United States Attorney for the Eastern District of Missouri, and Ashley M. Walker, Assistant

United States Attorney for said District, and moves the Court to order Defendant Andrew C.

Hubbard detained pending trial, and further requests that a detention hearing be held three (3) days

from the date of Defendant’s initial appearance before the United States Magistrate pursuant to

Title 18, United States Code, Section 3141, et seq.

       As and for its grounds, the United States of America states as follows:

       1.      Title 18, United States Code, Section 3142(g) provides factors that the Court must

consider in determining whether to order Defendant detained pending trial. These factors include:

(a) the nature and circumstances of the offense charged; (b) the weight of the evidence against

Defendant; (c) Defendant’s criminal history and characteristics; and (d) the danger that would be

posed by Defendant’s release to any particular individual or the community as a whole.

       2.      Defendant is currently charged by complaint with possessing one or more firearms

as a previously convicted felon, in violation of 18 U.S.C. § 922(g)(1).
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       3.      This charge stems from a federal search warrant that was executed on October 11,

2023, at Defendant’s residence at 12249 Corrida Court, Maryland Heights, Missouri 63043. While

searching the residence, investigators located and seized three firearms from inside a kitchen

cabinet: (1) a Glock 43X, 9mm semiautomatic pistol; (2) a Ruger LCP, .380 caliber semiautomatic

pistol; and (3) a Glock 26, 9mm semiautomatic pistol. All three firearms were loaded with

ammunition. Investigators also located and seized multiple rounds of ammunition in various

calibers from inside the residence. Defendant was inside the residence at the time the search

warrant was executed and was detained.

       4.      A federal search warrant was conducted as part of an ongoing homicide

investigation by the St. Louis Metropolitan Police Department, with assistance from the Federal

Bureau of Investigation (FBI). In the early morning hours of July 7, 2023, SLMPD officers were

alerted to a “Person Down” in the alley of the 4400 block of Kennerly Avenue. There, responding

officers discovered victim AW deceased after suffering multiple apparent gunshot wounds.

       5.      After learning victim AW’s cellphone number, investigators obtained call records

and identified the cellphone numbers that communicated with victim AW’s cellphone in the hours

leading up to her murder. One of those numbers belonged to Defendant, who investigators learned

was victim AW’s son.

       6.      Investigators also obtained state-level search warrants for tower/area cellular data

from three points critical to the investigation: (1) victim AW’s residence; (2) a point along the path

victim AW’s device travelled from her residence to the location where her body was recovered,

and (3) the place where her body was recovered. From that data, investigators were able to identify

two potential suspects based on cellular devices that were with victim AW’s cellular device at or

near the same time at all three points. Investigators further determined that Defendant’s device



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communicated with both cellular devices associated with these two suspects on the evening of July

6 and into the early morning hours of July 7, 2023.

        7.        Investigators also learned that four days after victim AW was murdered, Defendant

submitted a claim on a life insurance policy he had obtained in 2019. Victim AW was the insured

on the policy and Defendant, owner of the policy, was listed as the sole beneficiary.

        8.        After being detained during the execution of the search warrant at 12249 Corrida

Court, Defendant was questioned about his knowledge of victim AW’s murder. Defendant

admitted to being involved in the murder, orchestrating the murder of his mother and soliciting the

assistance of two other subjects. The Defendant further admitted to attempting to collect the

proceeds on victim AW’s life insurance policy after the murder. The FBI forensic investigation of

the cell phones utilized by Defendant and his accomplices corroborated Defendant’s admissions

to investigators.

        9.        These facts and circumstances, coupled with the three firearms and various

ammunition that investigators recovered from Defendant’s residence, show that Defendant poses

a danger to the surrounding community.

        10.       Defendant’s criminal history further demonstrates that he is a dangerous individual.

Defendant has prior felony convictions for possession of a controlled substance and distribution

of, or possession with the intent to distribute, a controlled substance. Defendant was also arrested

and charged with first-degree assault and armed criminal action, but those charges were dismissed

prior to trial.

        11.       Given the facts supported Defendant’s current charge, coupled with his admissions

surrounding the murder of his mother, a crime for which a federal investigation is ongoing, there




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is no condition or combination of conditions that would assure the community’s safety if

Defendant were to be released pending trial.1

         WHEREFORE, the Government requests that this Court order Defendant detained prior to

trial, and further order a detention hearing three (3) days from the date of Defendant’s initial

appearance.



                                                     Respectfully submitted,

                                                     SAYLER A. FLEMING
                                                     United States Attorney


                                                     /s/ Ashley M. Walker
                                                     ASHLEY M. WALKER #67175MO
                                                     Assistant United States Attorney
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1
    The Government anticipates charges relative to the murder to be forthcoming.
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